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2016R00017/DCC

                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                    Hon.


    V.                                       Criminal No. 17-


PHILIP JUNLIN LI                             18U.S.C.§ 371




                              INFORMATION
                        (Conspiracy to Commit Visa Fraud)

              The defendant having waived in open court prosecution by

indictment, the United States Attorney for the District of New Jersey charges:

                        Relevant Entities and Individuals

         1.   At all times relevant to this Information:

              a.     PHILIP JUNLIN LI ("LI") was a naturalized U.S. citizen who

resided in El Monte, California. LI was an employee and affiliate of American

International Education Center and Excellent Student Service (collectively,

"AIEC"), purported student immigration services and school placement

companies located in San Gabriel, California.

              b.    JIAMING WANG, a/k/a "Celine Wang"("WANG"), was a

Chinese national and lawful permanent resident of the United States, residing

in El Monte, California. WANG was the president of AIEC.

              c.    The University of Northern New Jersey (the "School") was

located in Cranford, New Jersey. The School was part of a federal law

enforcement undercover operation in which federal agents posed as the owners

and operators of a for-profit education and business entity. The School was
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not staffed with instructors or educators, had no curriculum, and conducted

no actual classes or educational activities.

            d.    The United States Department of Homeland Security ("DHS")

was responsible for processing requests submitted by foreign citizens seeking

lawful entry into and authority to remain in the United States. DHS was

further responsible for collecting and maintaining accurate records of

nonimmigrant aliens living in the United States.

            e.     The Student and Exchange Visitor Program ("SEVF') was a

DHS-monitored program that was responsible for, among other things,

managing the international student process in the United States, including the

monitoring of certain classes of visa holders.

            f.     The United States Citizenship and Immigration Services

("USCIS") was an agency of the executive branch of the United States and was

empowered to approve and process applications for permanent residency.

              Baclfgypund and Overview of Immigration Process

      2.    DHS ran several programs through which foreign citizens could

obtain permission to enter and remain in the United States, including the F-1

student visa program. Under the F-1 program, foreign students could enter

and remain in the United States on a temporary basis to pursue academic

studies. In order to obtain the immigration benefits afforded by the F-1

student visa program, a foreign student had to be accepted into a SEVP-

certified school, and the same school had to issue the foreign student a
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"Certificate of Eligibility for Nonimmigrant(F-1) Student Status - For Academic

and Language Students"(commonly referred to as a "Form 1-20").

      3.    By issuing a Form 1-20 to a foreign student, an accredited school

certified that the student:(1) met all standards of admission for the school

based on a review of the student's application, transcripts, proof of financial

responsibility, amd other records; and (2) had been accepted for, and would be

required to pursue, a full course of study.

      4.    Once a foreign student received a Form 1-20 from a SEVP-certified

school, the student was eligible to receive an F-1 visa. The foreign student

could then use the F-1 visa and Form 1-20 to enter and remain in the United

States for a period of time known as "duration of status." Federal regulations

defined "duration of status" as the time during which a foreign student was

pursuing a full course of study at a SEVP-certified school. Additionally, a

foreign student was considered to be maintaining valid F-1 student status if he

or she was making normal progress toward completing a course of study. After

the foreign student completed his or her course of study, the student was

typically required to depart the United States.

      5.    The Student and Exchange Visitor Information System ("SEVIS")

was a DHS internet-based data system that provided users with access to

current information on nonimmigrant foreign citizens, exchange aliens, and

their dependents. Each Form 1-20 that was issued by a school to a foreign

citizen contained a system-generated identification number. This number was

referred to as the "SEVIS ID number." Generally, the SEVIS ID number
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remained the same as long as the foreign citizen maintained his or her valid,

original nonimmigrant status. This number typically remained the same
regardless of any changes or updates made by the school to the foreign citizen's
record.

      6.    Once in the United States, a foreign citizen was generally permitted

to transfer from one SEVP-certified school to another, as long as that individual

maintained valid F-1 student status and was pursuing a full course of study.

To effect such a transfer while maintaining valid status, a foreign citizen had to

first obtain a school acceptance letter and a SEVIS transfer form from the

SEVP-certified school to which the student intended to transfer. The foreign

citizen was then permitted to transfer to that school, obtain a Form 1-20, and

remain in the United States as long as he or she pursued a full course of study

at the new SEVP-certified school.

      7.    In addition to taking a full course of study at an accredited

institution, an F-1 student was also permitted to seek practical training -

which could include paid employment- that was directly related to the

student's major and was considered part of the student's program of study.

The two lypes of practical training available to F-1 students included cumcular
practical training ("CPT") and optional practical training ("OPT'). If approved by

a SEVP-certified school officer, an F-1 student was entitled to obtain a new

Form 1-20 indicating that he or she had been approved for either CPT or OPT.

Generally, therefore, as long as an F-1 student had been properly enrolled at a

SEVP certified school, had taken classes and earned credits, and had made
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academic progress toward graduation, that F-1 student may have had the
opportunity to work full or part-time CPT or OPT, in addition to taking classes.
      8.     Other foreign nationals were permitted to obtain work

authorization in the United States through the H-IB visa program, subject to

certain requirements. Generally, this program allowed businesses in the

United States to employ foreign workers with specialized or technical expertise

in a particular field.

      9.     users periodically issued a Request for Evidence ("RFE") in

connection with its review of various immigration petitions, including change of

status petitions from F-1 status to H-IB status. Documents typically provided

by a petitioner in response to a RFE included, among others, proof of

enrollment and payment of school tuition, student identification cards, student

transcripts and attendance records, proof of CPT work authorization and

cooperative employer-student agreements, diplomas, and other education-

related materials.
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                                The Conspiracy


      10.   From in or about September 2014 through in or about March

2016, in Union County, in the District of New Jersey and elsewhere, defendant
                               PHILIP JUNLIN LI


did knowingly and intentionally conspire and agree with WANG,and others

known and unknown, to commit an offense against the United States, that is,

to utter, use, attempt to use, possess, obtain, accept, and receive

nonimmigrant visas, namely. Forms 1-20 and other documents proscribed by

statute and regulation for entry into and as evidence of authorized stay in the

United States, knowing that such documents were forged, counterfeited,

altered, and falsely made, and had been procured by means of false claims and

statements and otherwise procured by fraud sind unlawfully obtained, contrary

to Title 18, United States Code, Section 1546(a).
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                             Oblect of the Conspiracy

      11.      It was the object of the conspiracy to enable foreign individuals to

fraudulently maintain nonimmigrant status and obtain employment
authorization to remain in the United States on the basis of Forms 1-20 that

falsely stated the foreign individuals were enrolled in a full course of study at
an academic institution.

                       Manner and Means of the Conspiracy

      12.      It was part of the conspiracy that LI and WANG recruited and
helped to facilitate the enrollment of foreign students at the School. These
efforts were intended to enable those individuals to fraudulently maintain

nonimmigrant status and obtain emplojmient authorization to remain in the
United States through immigration documents obtained on the false pretense
that these aliens were participating in full courses of study at an academic
institution.

       13.     It was further part of the conspiracy that LI and WANG told their
foreign recruits that they could enroll at the School without having to attend
any classes, and that such enrollment would enable the foreign recruits to
fraudulently maintain their nonimmigrant status and, in certain cases, to
unlawfully obtain work authorization in the United States. The defendant and
his co-conspirators had full knowledge that the aliens they recruited were not
bona fide students, would not attend any courses, earn credits, or make
academic progress toward a legitimate degree.
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      14.   It was further part of the conspiracy that, in exchange for receiving

a Form 1-20 and being reported in SEVIS as a legitimate foreign student, LI and
WANG facilitated payments - falsely characterized as tuition - to the School,
which payments corresponded to the length of time that the purported foreign
students were enrolled at the School.

      15.   It was further part of the conspiracy that, in order to deceive

immigration officials, LI, WANG and their co-conspirator clients obtained and
created fraudulent student records, including attendance records and

transcripts, for some of the foreign students who were purportedly attending
the School. LI, WANG and their co-conspirator clients obtained blank template

documents from the School, and used those templates to create false education

documents and records, which records in certain instances were submitted to

USCIS in response to an RFE for the purpose of deceiving immigration officials
in connection with petitions for change of visa status.




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                                   Overt Acts


      16.    In furtherance of the conspiracy and in order to effect the object

thereof, LI, WANG and their co-conspirators committed or caused the

commission of the following overt acts in the District of New Jersey and

elsewhere:


             a.    On or about September 4, 2014, WANG engaged in a

telephone conversation with an undercover law enforcement officer posing as a

School representative at the SchooLs offices in Cranford, New Jersey. During

this conversation, WANG discussed, among other matters, a plan to recruit

foreign nationals to enroll at the School in order to maintain their immigration

status without having to attend classes.

             b.    On or about October 3, 2014, WANG sent an e-mail to an

undercover law enforcement officer at the School in New Jersey. In this

communication, WANG discussed, among other matters, the cost for AIEC's

clients to enroll in UNNJ in order to obtain fraudulent immigration documents,

as well as AIEC's desire to serve as UNNJ's exclusive recruiter of purported

foreign students in California, Oregon, and Washington.

             c.    On or about February 5, 2015, WANG sent a text message to

an undercover law enforcement officer in New Jersey. In this communication,

and in an effort to facilitate ongoing fraudulent activities, WANG requested

permission for AlEC to issue acceptance letters to AIEC's foreign national

recruits on behalf of UNNJ.
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            d.    On or about March 12, 2015, LI engaged in a telephone

conversation with an undercover law enforcement officer in New Jersey.

During this conversation, LI discussed, among other matters, plans to evade

detection by law enforcement of AIEC and UNNJ's ongoing fraudulent activities.

            e.    On or about May 26, 2015, WANG sent an e-mail to the

School in New Jersey to advise that an H-IB visa application had been

submitted on behalf of one of AlEC's foreign national recruits.

            All in violation of Title 18, United States Code, Section 371.




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                          FORFEITURE ALLEGATION


            1.    As a result of committing the offense adleged in this

Information, defendant PHILIP JUNLIN LI, shall forfeit to the United States

pursuant to 18 U.S.C. § 982(a)(6)(A)(ii) any and all property constituting or

derived from any proceeds the said defendant obtained directly or indirectly as

a result of the said violation and any and all property used or intended to be

used in any manner or part to commit and to facilitate the commission of the

violation alleged in Count One of this Information, including but not limited to:

            a.    All of the defendant's right, title, and interest in the following

specific property: $800 in U.S. currency, that was lawfully seized from LI on or

about April 5, 2016.

                         Substitute Assets Provision

           2.     If any of the above-described forfeitable property, as a result

of any act or omission of the defendant:

            (a)   cannot be located upon the exercise of due diligence;

            (b)    has been transferred or sold to, or deposited with, a third

                   person;


            (c)    has been placed beyond the jurisdiction of the Court;

            (d)    has been substantially diminished in value; or

            (e)    has been commingled with other property which cannot be

                  subdivided without difficulty;




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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek

forfeiture of any other property of said defendant up to the value of the above

forfeitable property.




                                             PAUL J. F^g'HMAN
                                             United States Attorney




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                 United States District Court
                     District of New Jersey

                   UNITED STATES OF AMERICA

                                       V.



                               PHILIP JUNLIN LI



                      INFORMATION FOR
                                 18 U.S.C. § 371


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